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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

                                                               Case No. 6: 15-07246-KSJ
                                                               Chapter 7

IN RE:

VITO BADALAMENTI, JR.
     Debtor(s)      /

                   DEBTOR’S MOTION TO REOPEN CHAPTER 7 CASE

         COMES NOW the Debtor, Vito Badalamenti Jr., by and through his undersigned

counsel motions this Court for an order reopening his case so he can be allowed to file five

motions to avoid unsecured judicial liens and in support thereof states:

         1.     The Debtor’s bankruptcy case was closed January 27, 2016.

         2.     While the Debtor listed all of his debts in the filed schedules, he did not file

motions to avoid judicial liens on debts associated with five different creditors(American

Express Bank, Winter Springs Summit LLC, Sysco Central Florida Inc, The Realty Associates

Fund and Avalon TC).

         3.     As a result of the judicial liens, the debtor is unable to sell or refinance his home.

         4.     Debtor should be able to reopen his case to avoid judicial liens on the unsecured

creditors who have already been discharged from his Chapter 7 case.

         WHEREFORE, the Debtor requests that this Court re-open their bankruptcy case and

allow him to file five motions to avoid judicial liens.



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
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either by electronic transmission or by U.S. Mail to all interested parties on the attached mailing

matrix on this _6th__ day of __January___, 2021.




                                                   /s/ ALEC SOLOMITA
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